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 8                              UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                                        WESTERN
11
12   LUCAS R., by his next friend             Case No. 2:18-CV-05741 DMG PLA
     MADELYN R.; DANIELA MARISOL
13   T., by her next friend KATHERINE L.;     CLASS ACTION
     MIGUEL ANGEL S., by his next
14   friend GERARDO S.; GABRIELA N.,          EX PARTE APPLICATION FOR
     by her next friend ISAAC N.; JAIME       LEAVE TO PROCEED USING
15   D., by his next friend REYNA D.; SAN     PSEUDONYMS AND SUPPORTING
     FERNANDO VALLEY REFUGEE                  MEMORANDUM
16   CHILDREN CENTER, INC.;
     UNACCOMPANIED CENTRAL
17   AMERICAN REFUGEE                         Complaint Filed: June 29, 2018
     EMPOWERMENT,                             Trial Date: None Set
18                                            Judge: Hon. Dolly M. Gee
                     Plaintiffs,
19
           v.
20
     ALEX AZAR, Secretary of U.S.
21   Department of Health and Human
     Services; E. SCOTT LLOYD, Director,
22   Office of Refugee Resettlement of the
     U.S. Department of Health & Human
23   Services,
24                   Defendants.
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27
28
                                                     EX PARTE APPLICATION FOR LEAVE TO PROCEED
                                                                              USING PSEUDONYMS
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 1         Pursuant to Local Rule 7-19, Plaintiffs respectfully apply to this Court ex parte
 2   for permission to use pseudonyms for the two new named Plaintiffs and Next Friends
 3   in the above-captioned action, as well as the sibling of named Plaintiff Benjamin F. The
 4   Court previously granted a similar application for the original named Plaintiffs and their
 5   Next Friends. ECF No. 18.
 6         This application is based upon the accompanying Memorandum, a Declaration
 7   of Counsel submitted pursuant to Local Rule 7-19.1, Attachment A to this Ex Parte
 8   Application, which Plaintiffs simultaneously seek to file under seal, and all other
 9   matters of record. Defendants have represented to Plaintiffs that they do not oppose
10   this application.
11   MEMORANDUM IN SUPPORT OF EX PARTE APPLICATION FOR LEAVE
12                         TO PROCEED USING PSEUDONYMS
13         Plaintiffs seek permission to use pseudonyms for the named Plaintiffs and Next
14   Friends who bring this suit, as well as the sibling of named Plaintiff Benjamin F.1 The
15   named Plaintiffs are minors who currently are or recently were in the immigration
16   detention custody of the Office of Refugee Resettlement (“ORR”). The claims and
17   allegations in the Complaint implicate several highly private interests for the named
18   Plaintiffs who are identified, and thus protection of their identities and those of their
19   Next Friends and family members is warranted. The named Plaintiffs have an interest
20   in maintaining their privacy while in immigration custody and/or proceedings and in
21   their private medical and mental health information. Plaintiffs seek to use pseudonyms
22   for the named Plaintiffs and their Next Friends and family members to avoid the
23   negative consequences the public may attribute to being in immigration custody and to
24   requiring psychological and psychiatric care, and to avoid negative reprisals from their
25   custodians for speaking out regarding their treatment while in immigration detention.
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27   1
      Plaintiffs set forth an updated list of proposed pseudonyms and corresponding true
     names of the named Plaintiffs and their Next Friends and family members in
28   Attachment A, which Plaintiffs simultaneously seek leave to file under seal.
                                                        EX PARTE APPLICATION FOR LEAVE TO PROCEED
                                               1.                                USING PSEUDONYMS
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 1   Plaintiffs have advised Defendants’ counsel2 of this application, and Defendants’
 2   counsel has indicated that they would not oppose the application.
 3         The Court has discretion to allow the named Plaintiffs and their Next Friends and
 4   family members to proceed using pseudonyms. Does I thru XXIII v. Advanced Textile
 5   Corp., 214 F.3d 1058, 1068 (9th Cir. 2000); see also Doe v. Lincoln Unified Sch. Dist.,
 6   188 Cal. App. 4th 758, 766 (2010) (noting the “United States Supreme Court has also
 7   implicitly endorsed the use of pseudonyms to protect a plaintiff’s privacy”) (collecting
 8   cases); Flores v. Sessions, No. 85-cv-04544-DMG-AGR (C.D. Cal.) (ECF No. 416),
 9   Order Granting Plaintiffs’ Ex Parte Application for Leave to Proceed Using
10   Pseudonyms; Lucas R. v. Azar, No. 18-cv-5741-DMG (C.D. Cal.) (ECF No. 18), Order
11   Granting Plaintiffs’ Ex Parte Application for Leave to Proceed Using Pseudonyms. The
12   Ninth Circuit recognizes that parties may “use pseudonyms in the ‘unusual case’ when
13   nondisclosure of the party’s identity is necessary to protect a person from harassment,
14   injury, ridicule, or personal embarrassment.” Does I thru XXIII, 214 F.3d at 1067-68.
15   The Ninth Circuit has endorsed a balancing test to assess whether a litigant may
16   preserve his anonymity. Id. Under that test, the court looks to whether “the party’s
17   need for anonymity outweighs prejudice to the opposing party and the public’s interest
18   in knowing the party’s identity.” Id.
19         Courts have identified several common features in cases in which parties have
20   been permitted to proceed under a fictitious name, including “(1) when identification
21   creates a risk of retaliatory physical or mental harm . . . ; (2) when anonymity is
22   necessary ‘to preserve privacy in a matter of sensitive and highly personal nature’ . . .;
23   and (3) when the anonymous party is ‘compelled to admit [his or her] intention to
24   engage in illegal conduct, thereby risking criminal prosecution.’” Id. (internal citations
25   omitted) (collecting cases); see also Sealed Plaintiff v. Sealed Defendant #1, 537 F.3d
26   185, 189-90 (2d Cir. 2008) (identifying several additional factors and noting that “this
27
     2
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                                                        EX PARTE APPLICATION FOR LEAVE TO PROCEED
                                               2.                                USING PSEUDONYMS
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 1   list is non-exhaustive and district courts should take into account other factors relevant
 2   to the particular case under consideration”).
 3          The named Plaintiffs’ and their Next Friends’ and family members’ identities
 4   should be protected because the claims raised in this action concern several matters of
 5   a sensitive and highly personal nature. Moreover, identification of the named Plaintiffs’
 6   Next Friends and family members could lead easily to the identification of the named
 7   Plaintiffs.
 8          First, some allegations in this action implicate personal information of the named
 9   Plaintiffs, their Next Friends and other family members, and their potential sponsors,
10   including their immigration statuses and histories of trauma.            The claims and
11   information that will likely arise during this suit also implicate the details of the named
12   Plaintiffs’ immigration detention and asylum claims, and those of their Next Friends
13   and family members.          Federal law and policy maintain personally identifying
14   information related to such matters as confidential, particularly for minors in the
15   custody of ORR. See, e.g., 8 C.F.R. § 236.6 (prohibiting release of “the name of, or
16   other information relating, to” immigration detainees); 8 C.F.R. § 208.6 (maintaining
17   confidentiality of asylum applications and related records). The U.S. Department of
18   Health and Human Services maintains self-described “strong policies … to ensure the
19   privacy and safety of unaccompanied alien children by maintaining the confidentiality
20   of their personal information.”         U.S. Dept. of Health & Human Services,
21   Unaccompanied Alien Children Released to Sponsors by State (June 30, 2017),
22   https://www.acf.hhs.gov/orr/resource/unaccompanied-alien-children-released-to-
23   sponsors-by-state (last accessed Sept. 11, 2018). It explains, “These children may have
24   histories of abuse,” “may be seeking safety from threats of violence,” or “may have
25   been trafficked or smuggled.” Id. Accordingly, the agency has recognized that it
26   “cannot release information about individual children that could compromise the child’s
27   location or identity.” Id.
28          Second, the claims raised in Plaintiffs’ First Amended Complaint address the
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 1   private mental and physical health information and treatment of the named Plaintiffs.
 2   Courts have recognized a constitutionally protected interest in avoiding disclosure of
 3   personal matters, including medical information. Doe v. Beard, 63 F. Supp. 3d 1159,
 4   1166 n.4 (C.D. Cal. 2014) (collecting cases). The First Amended Complaint provides
 5   information regarding how many of the named Plaintiffs were treated for mental health
 6   disorders, information that is very private and public disclosure of which could be
 7   stigmatizing and traumatizing for them. See Vitek v. Jones, 445 U.S. 480, 492 (1980)
 8   (noting that compelled psychiatric treatment “can engender adverse social
 9   consequences to the individual” that can “have a very significant impact on the
10   individual”) (citation omitted).
11         Third, the First Amended Complaint discusses the negative treatment that some
12   Plaintiffs have experienced by the government contractors who are acting as their
13   physical custodians, and Plaintiffs reasonably expect that further allegations will be
14   raised in the course of the litigation. Public disclosure of the named Plaintiffs’ identities
15   and the identities of their Next Friends and family members could put those Plaintiffs
16   and their Next Friends and family members at risk of retaliation.
17         Fourth, the identities of the named Plaintiffs and their Next Friends and family
18   members should be protected because the named Plaintiffs are minors and the sensitive
19   subject matter at issue – including their private health information and immigration
20   detention – is based exclusively on their experiences as minors. Courts consider the
21   age of a plaintiff to be a “significant factor in the matrix of considerations arguing for
22   anonymity” based on a recognition of the “special vulnerability” of minors. Doe v.
23   Stegall, 653 F.2d 180, 186 (5th Cir. 1981); see also Sealed Plaintiff, 537 F.3d at 190
24   (stating that an important factor in the balancing inquiry is “whether the plaintiff is
25   particularly vulnerable to the possible harms of disclosure, particularly in light of his
26   age”) (internal citations omitted).
27         Finally, the fact that the accompanying First Amended Complaint is brought
28   against the government also weighs in favor of permitting the named Plaintiffs and their
                                                          EX PARTE APPLICATION FOR LEAVE TO PROCEED
                                                 4.                                USING PSEUDONYMS
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 1   Next Friends and family members to proceed using pseudonyms. See, e.g., Doe v.
 2   United States, 210 F. Supp. 3d 1169, 1173 (W.D. Mo. 2016). Courts have observed
 3   that it is more appropriate to allow parties to proceed anonymously when they are
 4   challenging the validity of government action. S. Methodist Univ. Ass’n of Women Law
 5   Students v. Wynne & Jaffe, 599 F.2d 707, 713 (5th Cir. 1979) (explaining that, unlike
 6   suits against private entities which may injure their reputation, suits challenging the
 7   validity of government action “involve no injury to the Government’s ‘reputation’”).
 8         “[T]he public’s interest in the case [would not be] best served by requiring that
 9   the litigants reveal their identities, because here, party anonymity [will] not significantly
10   obstruct the public’s view of issues joined or the court’s performance in resolving
11   them.” Doe v. Ayers, 789 F.3d 946 (9th Cir. 2015) (internal quotation marks and
12   brackets omitted).    Federal Rule of Civil Procedure 5.2(a)(3) entitles the named
13   Plaintiffs to use their initials rather than their full names, and thus the general public
14   will not lose much information by allowing the children and their Next Friends to
15   proceed with pseudonyms instead. Other relevant information important to Plaintiffs’
16   presentation of the issues, including the content of the Plaintiffs’ and Next Friends’
17   experiences and their claims, would still be maintained in the public record, and the
18   Court’s resolution of these Plaintiffs’ claims will be public as well.
19         The use of pseudonyms is the least restrictive method of ensuring the named
20   Plaintiffs’ and their Next Friends’ and family members’ privacy while permitting the
21   public access to the maximum amount of information. Proceeding through their true
22   initials alone, as permitted by Federal Rule of Civil Procedure 5.2(a)(3), is not sufficient
23   to protect the named Plaintiffs’ privacy or the privacy of their Next Friends and family
24   members, as knowledgeable people – including the local entities in whose physical
25   custody the named Plaintiffs still reside – would still be able to identify the named
26   Plaintiffs and their Next Friends with that information. Accordingly, Plaintiffs seek
27   permission to use pseudonyms for the named Plaintiffs and their Next Friends and
28   family members.
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 1         Moreover, allowing the named Plaintiffs and their Next Friends and family
 2   members to use pseudonyms in publicly-filed documents would cause no prejudice to
 3   Defendants. Plaintiffs simultaneously seek to file under seal Attachment A to this
 4   motion, which contains an updated list of the true names of the named Plaintiffs, their
 5   Next Friends, and named Plaintiff Benjamin F.’s sibling, as well as the corresponding
 6   proposed pseudonyms for the Court and Defendants. Cf. Doe v. United States, 210 F.
 7   Supp. 3d at 1173 (finding no prejudice to the government in allowing plaintiffs to use
 8   pseudonyms where it can learn the plaintiffs’ identities through other means). All that
 9   the Plaintiffs seek in this motion is permission to use pseudonyms for the named
10   Plaintiffs, Next Friends, and named Plaintiff Benjamin F.’s sibling in the publicly filed
11   documents in this case. “Courts generally find little to no risk of unfairness to [a]
12   defendant . . . where discovery does not appear to be inhibited by the plaintiff’s desire
13   to proceed anonymously.” Doe v. Cabrera, 307 F.R.D. 1, 8 (D.D.C. 2014); Doe No. 2
14   v. Kolko, 242 F.R.D. 193, 198 (E.D.N.Y. 2006).
15         For the reasons set forth above, Plaintiffs respectfully request that the Court enter
16   an Order:
17         A.     Granting them leave to proceed in this matter with the use of pseudonyms
18                for the two new named Plaintiffs, their Next Friends, and named Plaintiff
19                Benjamin F.’s sibling;
20         B.     Ordering that Defendants will not publicly disclose the names or personal
21                identifying information of the named Plaintiffs and their Next Friends and
22                family members after Defendants learn their names and personal
23                identifying information; and
24         Ordering that all parties shall submit pleadings, briefing, and evidence using the
25   named Plaintiffs’ and their Next Friends’ and family members’ pseudonyms instead of
26   their real names, initials, and other personally identifying information.
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                                                        EX PARTE APPLICATION FOR LEAVE TO PROCEED
                                                 6.                              USING PSEUDONYMS
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                                                   EX PARTE APPLICATION FOR LEAVE TO PROCEED
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